**.AO245D (Rev. 11/16) Judgment in a Criminal Case for Revocations/Modifications

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA
Vv.
TROY COMISKY

C1 Revocation of Probation
HH Revocation of Supervised Release
L] Modification of Supervision Conditions

[1 AMENDED REVOCATION JUDGMENT
Date of Most Recent Judgment:

THE DEFENDANT:
BH admitted guilt to violation(s)

JUDGMENT IN A CRIMINAL CASE

CR 07-2006-2-LTS
10069-029

Case Number:
USM Number:

Dan James Vondra

 

Defendant’s Attorney

2a-e of the term of supervision.

 

WB was found in violation of

1b, le, 1d after denial of guilt.

 

The defendant is adjudicated guilty of these violations:

Violation Number Nature of Violation

Violation Ended

Ib-d Failure to Participate in Substance Abuse Testing 05/18/2021
2a-e Use of a Controlled Substance 04/29/2021
The defendant is sentenced as provided in pages 2 through 3___ of this judgment. The sentence is imposed pursuant to the

Sentencing Reform Act of 1984.

HE The defendant was not found in violation of _ 1a, le and is discharged as to such violation(s).

 

[1] The Court did not make a finding regarding violation(s)

 

It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay

restitution, the defendant must notify the court and United States Attorney of material chan

Leonard T. Strand
Chief United States District Court Judge
Name and Title of Judge

 

May 25, 2021
Date of Imposition of Judgment

 

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in economic circumstances.

   

 

Signature of Judge ON
5-25-2|

Date

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DEFENDANT: TROY COMISKY
CASE NUMBER: CR 07-2006-2-LTS

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PROBATION

The defendant’s supervision is continued with the addition of special condition number(s):

IMPRISONMENT

No imprisonment is ordered as part of this modification.

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of: 9 months.

The court makes the following recommendations to the Federal Bureau of Prisons:

It is recommended that the defendant be designated to a Bureau of Prisons facility in close proximity to the defendant's
family which is commensurate with the defendant's security and custody classification needs,

The defendant is remanded to the custody of the United States Marshal.
The defendant must surrender to the United States Marshal for this district:

OO at Olam OJ pm. on
C as notified by the United States Marshal.

 

The defendant must surrender for service of sentence at the institution designated by the Federal Bureau of Prisons:
oO before 2 p.m. on

C as notified by the United States Marshal.

CJ as notified by the United States Probation or Pretrial Services Office.

 

RETURN

I have executed this judgment as follows:

Defendant delivered on to

at

with a certified copy of this judgment.

 

 

UNITED STATES MARSHAL

By

 

DEPUTY UNITED STATES MARSHAL

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SUPERVISED RELEASE

a Upon release from imprisonment, No Term of Supervised Release is reimposed.

 

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